                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

NANCY AVINA,                                  )
                                              )
                Plaintiff,                    )
                                              )       Case No. 4:19-cv-00480-RK
       v.                                     )
                                              )
UNION PACIFIC RAILROAD CO.,                   )
                                              )
                Defendant.                    )

             STIPULATION OF DISMISSAL WITH PREJUDICE
  OF ONLY THE CLAIMS REGARDING THE ADMINISTRATIVE AIDE POSITION
                    NOW SET FOR TRIAL ON 8/15/22

       Plaintiff Nancy Avina, and defendant Union Pacific Railroad Company, pursuant to Rule

41(a)(1)(A)(ii), Fed. R. Civ. P., hereby stipulate and agree as follows:

   1. From January 31, 2022 through February 10, 2022 this case proceeded to a jury trial.

During that trial, two (2) claims were ultimately submitted to the jury: (1) Plaintiff’s claim that

defendant did not promote plaintiff to the Administrative Aide position in 2018 based on her race

under 42 U.S.C. § 1981; and (2) that defendant did not promote plaintiff to the Administrative

Aide position in 2018 based on her age under the Age Discrimination in Employment Act

(ADEA). The jury was unable to reach a unanimous verdict on those claims and the Court

properly declared a mistrial.

   2. After the mistrial, the Court, in consultation with the parties, reset those claims for

jury trial set to begin on August 15, 2022.

   3. The parties hereby stipulate and agree that ONLY those claims now set for trial regarding

the 2018 Administrative Aide position can and should be DISMISSED WITH PREJUDICE,

with the parties to bear their own costs and attorneys’ fees with respect to those claims.




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   4. The parties also stipulate and agree that this Stipulation to Dismiss does not apply

to plaintiff’s claims that were dismissed by the Court before submission of the 2018

Administrative Aide claim to the jury, namely, (a) that defendant discriminated against Plaintiff

because of Plaintiff’s race in failing to promote her into the 2017 1E Materials Supervisor

position and (b) that the defendant discriminated against Plaintiff because of Plaintiff’s race or

age in failing to promote her into the 2018 1E Materials Supervisor position.

   5. The parties stipulate and agree that because not all claims had been determined at the

time of the mistrial, the Court’s earlier interlocutory dismissals have now become final and

subject to appeal.

   6. The parties stipulate and agree that neither party contends, nor should any Court consider,

that the 2017 and 2018 1E Materials Supervisor claims are the subject of this Rule 41

Stipulation.

Dated: June 13, 2022

                                              Respectfully submitted,




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